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  From:                                 Carothers, Matt (CCI-Atlanta) < Matt.Carothers@cox.com >
  Sent:                                 Wednesday, February 19, 2014 4:34 PM
  To:                                   Zabek, Jason (CCI-Atlanta); Sikes, Joseph (CCI-Atlanta)
  Subject:                              RE: DMCA complaint spike?



  Sorry to be Paranoid Panda here, but please stop sending out emails saying F the law or F some company. If we get sued,
  those emails are discoverable and would not look good in court.



  Matt Carothers
  Cox Communications
  {404) 933-1125

  -----Original Message-----
  From: Sikes, Joseph {CCI-Atlanta) [Joseph.Sikes@cox.com]
  Received: Wednesday, 19 Feb 2014, 1:28PM
  To: Carothers, Matt {CCI-Atlanta) [Matt.Carothers@cox.com]; Zabek, Jason {CCI-Atlanta) [Jason.Zabek@cox.com);
  Sara.Roper@Centurylink.com [Sara.Roper@Centurylink.com]; David.Dee@Centurylink.com
  [David.Dee@Centurylink.com]; Beck, Brent {CCI-Atlanta) [Brent.Beck@cox.com)
  Subject: RE: DMCA complaint spike?

  So, we actually do not accept ANY complaints from ~~-~-~~_t_g_!_~~}.£!.9.1:!.~~-~-~-~l?..:.~-~.n.! and have blacklisted them from
  sending to abuse@cox.net. Our Legal Dept deemed their "blackmail-styled" complaints as "not being in the spirit of the
  DMCA". And because of this, they no longer send to us. So, yeah, F the DRC!

  cox
  Joseph Sikes, Senior Lead Engineer
  Customer Safety I Security Assurance & Intelligence
  404-847-6486 tel 404-964-6006 cell
  6305 Peachtree Dunwoody Rd, B07-159B, Atlanta GA 30328



  From: Carothers, Matt (CCI-Atlanta)
  Sent: Wednesday, February 19, 2014 4:13 PM
  To: Zabek, Jason (CCI-Atlanta); Sara.Roper@Centurylink.com; Sikes, Joseph (CCI-Atlanta);
  David.Dee@Centurylink.com; Beck, Brent (CCI-Atlanta)
  Subject: RE: DMCA complaint spike?

  llRC complainants get one auto response after they cross the limit and then all subsequent mail during the next 24 hour
  rolling window is silently deleted. Brent is that accurate?



  Matt Carothers
  Cox Communications
  (404) 933-1125

  -----Original Message-----
                                                                                                   EXHIBIT



HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                    COX_BMG00207509
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  From: Dee, David [David.Dee@Centurylink.com]
  Received: Wednesday, 19 Feb 2014, 12:08PM
  To: Zabek, Jason (CCI-Atlanta) [Jason.Zabek@cox.com]; Roper, Sara [Sara.Roper@Centurylink.com]; Sikes, Joseph (CCI-
  Atlanta) [Joseph.Sikes@cox.com]
  CC: Carothers, Matt (CCI-Atlanta) [Matt.Carothers@cox.com]
  Subject: RE: DMCA complaint spike?

  Nice! I will defer the political response to Sara!

  Thanks!



  From: Zabek, Jason (CCI-Atlanta) [mailto:Jason.Zabek@cox.com]
  Sent: Wednesday, February 19, 2014 13:05
  To: Dee, David; Roper, Sara; Sikes, Joseph (CCI-Atlanta)
  Cc: Carothers, Matt (CCI-Atlanta)
  Subject: RE: DMCA complaint spike?

  F the dmca ! ! ! Ya, we told each copyright holder to limit them or give us money to hire people.   ©

  cox
  Jason Zabek
  Manager, Customer Safety
  404-269-8129 tel
  6305-B Peachtree Dunwoody Road
  Atlanta GA 30328
  (Insert benign saying here)



  From: Dee, David [mailto:David.Dee@Centurylink.com]
  Sent: Wednesday, February 19, 2014 2:48 PM
  To: Roper, Sara; Sikes, Joseph (CCI-Atlanta)
  Cc: Carothers, Matt (CCI-Atlanta); Zabek, Jason (CCI-Atlanta)
  Subject: RE: DMCA complaint spike?

  WOW, you're limiting each complainant email address to 200/day? Can we do that, Sara!?!? Can you imagine what I
  could do with the freed-up computing and storage resources!?

  Joe, can I ask what you do with the complaints above 200-per-complainant that come in each day? Do you SMTP Reject
  them somehow, or route to /dev/null, or capture-but-not-process??

  Our #'s from Digital RightsCorp for the past few days are (as of 1945Z today):

                 dtg                          complainant              I count
  ---------------------+----------------------------+-------
  2014-02-14 oo: oo: 00 I ~.<:'.2-~ElE.~.!;:alri_ght~9.EE:-~.9.~ I 27037
  2014-02-15         00 : 00 : 00   I dmca@digitalrightscorp . com I 17035
  2014-02-16         00 : 00 : 00   I dmca@digitalrightscorp . com I 14485
  2014-02-17         00 : 00 : 00   I ~£~.q~~alr_!.qh~~~-~EP.:_E~m I    6893
  2014-02-18         00:00 : 00     I ctmca@digitalrightscorp . com I 50670
  2014-02-19         00 : 00 : 00   I dmca@digitalrightscorp.com I 38326 (82% of the day so far)
  (6   rows)

  - David


  From: Roper, Sara
  Sent: Wednesday, February 19, 2014 12:41
                                                                   2




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    Case 1:18-cv-00950-LO-JFA Document 162-8 Filed 05/22/19 Page 3 of 3 PageID# 4219


  To: Sikes, Joseph (CCI-Atlanta)
  Cc: Carothers, Matt (CCI-Atlanta); Zabek, Jason (CCI-Atlanta); Dee, David
  Subject: Re: DMCA complaint spike?

  David, can you answer Joe's question?

  Sent from my phone. Please excuse errors and brevity.

  On Feb 19, 2014, at 11:23 AM, "Sikes, Joseph (CCI-Atlanta)" <Joseph.Sikes@cox.com> wrote :

          Hey Sarah,

          What email address are they sending them from?

         We are limiting each DMCA complainant by email address to 200/day.

         -Joe Sikes
           via mobile
         404-964-6006

         On Feb 19, 2014, at 2:11 PM, "Carothers, Matt (CCI-Atlanta)" <Matt.Carothers@cox.com> wrote :

                 Hey guys, Sara was wondering if we've seen a complaint spike from a DMCA monitor
                 called Digital Rights Corp (Sara, is that correct?) and if so, what we've done with the
                 complaints. Can you share our current rate limits with her?

                 - Matt




                                                             3




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